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                                UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF NORTH CAROLINA
                                      GREENVILLE DIVISION

  IN RE:

  JAMES HOWARD WINSLOW                                                    CHAPTER 11
  SSN xxx-xx-3357                                                         CASE NO.: 10-06745-8-JRL
  BILLIE REID WINSLOW
  SSN xxx-xx-5575
  2006 Asbury Drive
  Elizabeth City, NC 27909
                          Debtors

                                    OBJECTION TO CLAIM BY TRUSTEE

           NOW COMES Richard D. Sparkman, Bankruptcy Trustee by and through counsel, and hereby objects
  to Proof of Claim # 52 filed by Bernd H. Weber for $98,788.61 as follows:

           ( )    The claim is a duplicate of claim # and should be Denied.

           ( )    Creditor has filed unsecured claim but failed to provide proper documentation to support the
                  claim. Creditor is given 30 days from the date of this objection to provide documentation to
                  support claim, failing which claim is denied in full for distribution purposes in this bankruptcy
                  proceeding.

           (X)    Creditor has provided documentation evidencing a claim against Tanglewood Farms, LLC;
                  however no evidence of contract and/or personal guaranty between Claimant and James
                  Winslow and/or Billie Reid Winslow was provided. Deny claim in full for distribution purposes
                  in this bankruptcy proceeding.

           ( )    Provided documentation fails to support a perfected secured or priority claim
                  classification. Allow Claim as general unsecured only.

           ( )    Creditor has filed secured claim for collateral not liquidated by the Bankruptcy Trustee.
                  Upon information and belief, debtor has retained the collateral and is maintaining
                  payments. Deny claim in full for liquidation purposes in this bankruptcy proceeding.

           ( )    Creditor has filed secured claim for collateral not liquidated by the Bankruptcy Trustee.
                  Upon information and belief, the collateral was surrendered to secured creditor for
                  liquidation. Secured creditor is given 30 days from the date of this objection to complete
                  liquidation of its collateral and file unsecured deficiency claim with the Bankruptcy Court
                  failing which claim is denied in full for distribution purposes in this bankruptcy proceeding.

           DATED: October 3, 2012
                                                      BY:     /s/ Richard DeWitte Sparkman
                                                               Richard DeWitte Sparkman
                                                               Bankruptcy Trustee
                                                               State Bar No. 6857
                                                               P. O. Box 1687
                                                               Angier, NC 27501
                                                               Telephone: 919/639-6181
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                                 UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF NORTH CAROLINA
                                       GREENVILLE DIVISION


  IN RE:

  JAMES HOWARD WINSLOW                                                           CHAPTER 11
  SSN xxx-xx-3357                                                                CASE NO.: 10-06745-8-JRL
  BILLIE REID WINSLOW
  SSN xxx-xx-5575
  2006 Asbury Drive
  Elizabeth City, NC 27909
                        Debtors


                                        NOTICE OF OBJECTION TO CLAIM

           NOTICE is hereby given of the Objection To Claim #52 filed by Bernd H. W eber for $98,788.61 by
  Trustee, filed simultaneously herewith by and through undersigned counsel; and

          Your rights may be affected. You should read these papers carefully and discuss them with your attorney, if
  you have one in this bankruptcy case. (If you do not have an attorney, you may wish to consult one.)

           If you do not want the court to grant the objection, or if you want the court to consider your views on the
  objection, then on or before November 5, 2012 , unless otherwise ordered, you or your attorney must file with the
  court, pursuant to Local Rule 9013-1 and 9014-1, a written response, an answer explaining your position, and a
  request for hearing at:

           For Raleigh Division Cases Only                         For Cases in All Other Divisions
           U.S. Bankruptcy Court                                   U.S. Bankruptcy Court
           300 Fayetteville Street, 2nd Floor                      1760-A Parkwood Boulevard W .
           Post Office Box 1441                                    W ilson, NC 27893-3564
           Raleigh, NC 27602-1441

            Pursuant to that Memorandum from Chief Bankruptcy Judge J. Rich Leonard, EDNC, dated February 24,
  2005, attorneys practicing in the United States Bankruptcy Court for the Eastern District of North Carolina,
  including attorneys admitted pro hac vice, are required to file electronically all documents [including new
  bankruptcy petitions, motions, memoranda of law, and other pleadings, but excluding proofs of claim and documents
  to be placed under seal in accordance with Local Bankruptcy Rule 5005-4(6)]. Any documents required to be filed
  electronically pursuant to Local Bankruptcy Rule 5005-4(1) but presented in paper form on or after April 1, 2005,
  shall be accompanied by an application for an exemption from this rule and a proposed order granting the relief
  sought. The application shall state the reason(s) why electronic filing would impose an extreme hardship on the
  attorney. Local Bankruptcy Rules pertaining to electronic filing, including Local Bankruptcy Rules 5005-4(1) and
  5005-4(2) may be found on the Court’s website www.nceb.uscourts.gov. Electronic filing may be done through the
  Court’s website. The Court’s mailing address is:

                                                Clerk US Bankruptcy Court
                                                      P.O. Box 1441
                                                 Raleigh, NC 27602-1441

           If you mail your response to the court for filing, you must mail it early enough so the court will receive it
  on or before the date stated above.
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           You must also mail a copy to:

           Richard D. Sparkman                                     Bankruptcy Administrator
           Chapter 11Trustee                                       Attn: Marjorie K. Lynch
           P. O. Box 1687                                          1760-B Parkwood Blvd.
           Angier, NC 27501                                        W ilson, NC 27893

           Trawick H. Stubbs, Jr.                                  James Howard W inslow
           Attorney for Debtors                                    Billie Reid W inslow
           Stubbs & Perdue, P.A.                                   2006 Asbury Drive
           P.O. Drawer 1654                                        Elizabeth City, NC 27609
           New Bern, NC 28563

          If a response and a request for hearing is filed in writing on or before the date set above, a hearing will be
  conducted on the objection at a date, time and place to be later set and all parties will be notified accordingly.

           If you or your attorney do not take these steps, the court may decide that you do not oppose the relief sought
  in the motion or objection and may enter an order granting that relief.

           DATED:    October 3, 2012

                                                         RICHARD D. SPARKMAN & ASSOCIATES, P. A.


                                                         BY:       /s/ Richard DeWitte Sparkman
                                                                   Richard DeWitte Sparkman
                                                                   Bankruptcy Trustee
                                                                   N. C. State Bar No. 6857
                                                                   PO Box 1687
                                                                   Angier, NC 27501
                                                                   (919) 639-6181
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                             UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF NORTH CAROLINA
                                   GREENVILLE DIVISION

  IN RE:

  JAMES HOWARD WINSLOW                                             CHAPTER 11
  SSN xxx-xx-3357                                                  CASE NO.: 10-06745-8-JRL
  BILLIE REID WINSLOW
  SSN xxx-xx-5575
  2006 Asbury Drive
  Elizabeth City, NC 27909
                        Debtors

                                     AFFIDAVIT OF TRUSTEE

     I, Richard D. Sparkman, Trustee in the above-referenced case, hereby make solemn oath that:

           1. I am the duly appointed Trustee in the above-referenced case.

         2.     I represent no interest adverse to the above captioned Debtor, or its estate in the
  matters upon which I am to be engaged.

          3.     I am familiar as Trustee with the claims as filed and the basis for objection
  thereto, and believe the Objection to be valid and reasonable, upon information and belief.

     This the 3rd day of October, 2012.

                                        RICHARD D. SPARKMAN & ASSOCIATES, P.A.


                                        BY:    /s/ Richard DeWitte Sparkman
                                                 Richard DeWitte Sparkman
                                                 Bankruptcy Trustee
                                                 State Bar No. 6857
                                                 P. O. Box 1687
                                                 Angier, NC 27501
                                                 Telephone No. (919) 639-6181


  Sworn to and subscribed before me
  this 3rd day of October, 2012.                       (Official Seal)

    /s/ Erica S. Jones
  Notary Public Erica S. Jones
  My commission expires: 02/13/2016
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                                  UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF NORTH CAROLINA
                                        GREENVILLE DIVISION

  IN RE:

  JAMES HOWARD WINSLOW                                                         CHAPTER 11
  SSN xxx-xx-3357                                                              CASE NO.: 10-06745-8-JRL
  BILLIE REID WINSLOW
  SSN xxx-xx-5575
  2006 Asbury Drive
  Elizabeth City, NC 27909
                         Debtors

                                           CERTIFICATE OF SERVICE

           I, Erica S. Jones , of P. O. Box 1687, Angier, N.C., 27501, certify:

           That I am, and at all time hereinafter mentioned was, more than eighteen (18) years of age:

          That on the 3rd day of October, 2012, I served a copy of Objection To Claim and Notice of Objection
  To Claim No. 52 filed by Bernd H. Weber for $98,788.61 to the parties in interest as indicated below:

           Bankruptcy Administrator                                Trawick H. Stubbs, Jr.
           Attn: Marjorie K. Lynch                                 Attorney for Debtors
           1760-B Parkwood Blvd.                                   Stubbs & Perdue, P.A.
           Wilson, NC 27893                                        P.O. Drawer 1654
           *via electronic mail                                    New Bern, NC 28563

           Bernd H. Weber                                          James Howard Winslow
           Suite 702                                               Billy Reid Winslow
           55 Kingsbridge Garden Circle                            2006 Asbury Drive
           Mississauga, Ontario L5R1Y1, Canada                     Elizabeth City, NC 27909

           by depositing copies hereof in a preaddressed envelope with sufficient postage thereon in a post office
  of official depository under the exclusive care and custody of the United States Postal Service and/or electronic
  filing.

           I certify under penalty of perjury that the foregoing is correct.

  Executed on: October 3, 2012
                                               Richard D. Sparkman & Associates, P. A.


                                               BY:     /s/ Erica S. Jones
                                                           Erica S. Jones
                                                           Legal Assistant
                                                           P. O. Box 1687
                                                           Angier, North Carolina 27501
                                                           Telephone: 919/639-6181
